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Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 23 of 37
Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 24 of 37
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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA
                                                       Criminal No. 21-670 (CJN)

V.

STEPHEN K. BANNON,

               Defendant.


                                     NOTICE OF APPEAL

       Defendant Stephen K. Bannon hereby gives notice that he appeals to the United States

Court of Appeals for the District of Columbia Circuit from the final judgment of conviction and

sentence entered on October 21, 2022 [ECF## 161; 162]. 1 Under Rule 3 (c)(1)&(4), Federal Rules



1
 Rule 4(b)(l)(A)(i) of the Federal Rules of Appellate Procedure provides in pertinent part that in
a criminal case, a notice of appeal must be filed within 14 days of the entry of the judgment
being appealed. Rule 4(b)(6) provides that the judgment is "entered" within the meaning of Rule
4(b) when it is "entered on the criminal docket." The circumstances in this case surrounding the
entry of the judgment on the criminal docket are most puzzling.

Mr. Bannon was sentenced on October 21, 2022. At the end of the sentencing hearing, the Court
advised the parties that the Court would "get the judgment out as quickly as possible." [Tr.
10/21/2022 Sentencing Hearing at 79]. The Court also set a voluntary surrender date of
November 15, 2022, which the Court characterized as "the period, basically, after the period by
which an appeal must be noticed." [Id. at 78]. That date would be removed and a stay pending
appeal would be ordered, once the notice of appeal was timely filed. [Id. at 78].

No judgment was actually entered on the criminal docket until October 31, 2022. In fact, on
October 30, 2022, defense counsel communicated among themselves, expressing concern that
the judgment had not yet been entered and the voluntary surrender date was approaching. As of
October 30, 2022, the last entry on the criminal docket was a Minute Order entry related to the
sentencing proceedings earlier that date. Accordingly, early in the morning on October 31, 2022,
the undersigned agreed to draft an email to the Court's staff, with copies to opposing counsel,
inquiring as to when the judgment would be entered. However, before the email was sent, at
10:44 a.m., the parties, for the first time, received ECF notice that the judgment had been entered
on that date - October 31, 2022. That notice provided that the judgment was "entered" on
October 31, 2022 and "filed" on October 21, 2022. [Exhibit 1].
                                                 1


                                                                                                      26
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of Appellate Procedure, the Notice of Appeal, of course encompasses all orders in the case

preceding the judgment (See also Notes to 2021 Amendments) and that is the intention here. It

also is intended to encompass the ancillary Order entered in the related case In Re: Non-Party

Subpoenas, 1:22-mc-00060-CJN. [Minute Order of711212022].



Dated: November 4, 2022                              Respectfully submitted,

                                             SILVERMANITHOMPSONISLUTKINIWHITE, LLC

                                                 Isl M. Evan Corcoran
                                             M. Evan Corcoran (D.C. Bar No. 440027)
                                             Riane White (Pro Hae Vice)
                                             210 N. Charles Street, 26th Floor
                                             Baltimore, MD 21201
                                             Telephone: (410) 385-2225
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                                                 Isl David I. Schoen
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                                             David I. Schoen, Attorney at Law
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                                             Montgomery, Alabama 36106
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                                             Email: schoenlawfirm@gmail.com
                                             Counsel for Defendant Stephen K. Bannon

With the delivery ofthat notice on October 31, 2022, the judgment and statement ofreasons for
the judgment were then actually entered on and appeared on October 31, 2022, for the first time
on the criminal docket as ECF## 161& 162. However, despite the fact that they were not
actually entered on the criminal docket until October 31, 2022 and no notice ofthe entry of
judgment went out to the parties until October 31, 2022, the judgment was entered on the
criminal docket on October 31, 2022, as ifit had been entered on the criminal docket ten (10)
days earlier with the docket entry for both the judgment and the statement ofreasons reflected as
"10/21/2022." This is very puzzling and had the effect ofdramatically shortening the statutory
period for Mr. Bannon to file his notice ofappeal, since the controlling date under Rule 4(b)(6) is
the date ofentry on the criminal docket and that now (erroneously) appears as "10/21/2022"
instead ofthe actual date ofentry, "10131/2022." As a result, Mr. Bannon had to file within four
(4) days ofthe actual entry date (October 31, 2022) instead offourteen (14) days, so as to file
within 14 days ofthe date ofentry on the criminal docket (Rule 4 (b)(6)), even though that date
clearly is wrong.
                                                 2


                                                                                                      27
       Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 28 of 37




                            CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on this 4th day of November, 2022, a copy of the foregoing

NOTICE OF APPEAL was served via the Court's CM/ECF system on registered parties and

counsel.


                                           Isl M. Evan Corcoran
                                        M. Evan Corcoran (D.C. Bar No. 440027)




                                           3


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                         EXHIBIT 1




                                                                   30
11/4/22, 5:35 PM                                           Activity in Case 1 :21-cr-0067 0-CJN USA v. BANNON Judgment
                       Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 31 of 37
     From: DCD_ECFNotice@dcd.uscourts.gov,
        To: DCD_ECFNotice@dcd.uscourts.gov,
  Subject: Activity in Case 1 :21-cr-00670-CJN USA v. BANNON Judgment
      Date: Mon, Oct 31, 2022 10:44 am


  This is an automatic e-maH message generated by the CMiECF system. Please DO NOT RESPOND to this
  t.--rm:di because the mail box is unattem:ll.ed.
  ''"dNOTE TO PUBLIC ACCESS USERS*'�* Judicial Conference of the United States policy permits
  attorneys of record and parties in a case (including pro se litigants) to receive one free electronic copy of
  all documents filed electronically, if receipt is required by law or directed by the filer. PACER access fees
  apply to all other users. To avoid later charges, download a copy of each document during this first
  viewing. However, if the referenced document is a transcript, the free copy and 30 page limit do not apply.

                                                       U.S. District Court

                                                       District of Columbia

  Notice of Electronic Filing

  The following transaction was entered on 10/31/2022 at l 0:44 AM and filed on 10/21/2022
  Case Name:           USA v. BANNON
  Case Number:         1 :2 l -cr-00670-CJN
  Filer:
  Document Number: ill

  Docket Text:
  JUDGMENT as to STEPHEN K. BANNON. Statement of Reasons Not Included. Signed by Judge
  Carl J. Nichols on 10/21/2022. (zstd)


  1:21-cr-00670-CJN-1 Notice has been electronically mailed to:

  Stanley McKennett Brand               stanleymbrand@gmail.com

  Matthew Evan Corcoran               ecorcoran@silvennanthompson.com, efiling@silvermanthompson.com

  David I. Schoen          dschoen593@aol.com

  Charles D. Tobin tobinc@ballardspahr.com, LitDockct_East@ballardspahr.com, mendezc@ballardspahr.com,
  mishkinm@ballardspahr.com

  Eric Randal Columbus              eric.columbus@mail.house.gov

  J.P. Cooney joseph.cooney@usdoj.gov, CaseView.ECF@usdoj.gov, USADC.CriminalDocket@USDOJ.gov,
  USADC.ECFFraud@USDOJ.gov, USADC.ECFPCCR@usdoj.gov, amanda.rohde@usdoj.gov

   Todd Barry Tatelman            todd.tatelman@mail.house.gov, ogc.ecf@mail.house.gov

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   meghan@brandwoodwardlaw.com

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   usadc.criminaldocket@usdoj.gov, usadc.ecfpccr@usdoj.gov
                                                                                                                              1/2
 https://�ail.aol.com/webmail-std/en-us/PrintMessage
                                                                                                                         31
11/4/22, 5:35 PM       Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 32 of 37

  Maxwell S. Mishkin            mishkinm@ballardspahr.com, LitDocket_East@ballardspahr.com

  Michelle S. Kallen          MKallen@jenner.com, 4043426420@filings.docketbird.com, docketing@jenner.com

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  amanda.rohde@usdoj.gov

  Douglas N. Letter          douglas.letter@mail.house.gov, ogc.ecf@mail.house.gov

  Lauren Russell         russelll@ballardspahr.com

  Stacie Marion Fahsel           stacie.fahsel@mail.house.gov

  Riane A. White          rwhite@silvermanthompson.com

  1:21-cr-00670-CJN-1 Notice will be delivered by other means to::

  The following document(s) are associated with this transaction:

  Document description:Main Document
  Original filename:suppressed
  Electronic document Stamp:
  [STAMP dcecfStamp_ID =973800458 [Date= l0/31/2022] [FileNumber= 7998062-0
  ] [ab915dfea8cb3fficb3229a985dlbldd37c328fbddb85bbc28a8del9c481669f1343
  448325cf80bf6 lf2380791897c5ca31 d883dd679f13c2 l 7a8db62139133 la]]




https://mail.aol.com/webmail-std/en-us/PrintMessage
                      Case  1:21-cr-00670-CJN
                       AO 2458                             Document
                               (Rev. 09/19) Judgment in a Criminal Case 167 Filed 11/07/22 Page 33 of 37

                      Sheet I



                                        UNITED STATES DISTRICT COURT
                                                               District of Columbia
                                                                          )
             UNITED STATES OF AMERICA
                                                                          )
                                                                                  JUDGMENT IN A CRIMINAL CASE
                                 V.                                       )
                      Stephen K. Bannon                                   )       Case Number: CR 21-670 (CJN)
                                                                          )
                                                                          )       USM Number: 05635-509
                                                                          )
                                                                          )       Matthew Corcoran, David Schoen, and Riane White
                                                                          )       Defendant's Attorney
THE DEFENDANT:
Dpleaded guilty to count(s)
Dpleaded nolo contendere to count(s)
 which was accepted by the court.
� was found guilty on count(s)          1 and 2 of Indictment filed 11/12/2021
  after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                 Nature of Offense                                                            Offense Ended
2§192                           CONGRESSIONAL CONTEMPT - REFUSE TO TESTIFY;                                10/14/2021                       1
                                      Contempt of Congress (Testimony)
2§192                           CONGRESSIONAL CONTEMPT - REFUSE TO TESTIFY;                                10/18/2021                       2

       The defendant is sentenced as provided in pages 2 through          __5__ of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
DThe defendant has been found not guilty on count(s)
DCount(s)                                               D is       Dare dismissed on the motion of the United States.

         It is ordered that the defendant must notify the United States attorney for this district within 30 da)'s of any change of name, residence,
or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution,
the defenrnmt must notify the court and United States attorney of material clianges in economic circumstances.

                                                                                                         10/21/2022
                                                                         Date oflmposition of Judgment



                                                                              C.t¢�
                                                                         Signature o�dge




                                                                                           Carl J. Nichols      U.S. District Judge
                                                                         Name and Title of Judge


                                                                                                         10/21/2022
                                                                         Date




                                                                                                                                                   33
                       Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 34 of 37
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet IA
                                                                           Judgment-Page __ of ____
DEFENDANT: Stephen K. Bannon
CASE NUMBER: CR 21-670 (CJN)

                                           ADDITIONAL COUNTS OF CONVICTION
Title & Section                  Nature of Offense                     Offense Ended      Count
                                     Contempt of Congress (Papers)




                                                                                                  34
                       Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 35 of 37
AO 245B (Rev. 09/19) Judgment in Criminal Case
                     Sheet 2 - Imprisonment

                                                                                                  Judgment - Page      3   of
 DEFENDANT: Stephen K. Bannon
 CASE NUMBER: CR 21-670 (CJN)

                                                          IMPRISONMENT
           The defendant is herebycommitted to the custodyof the Federal Bureau of Prisons to be imprisoned for a
 total term of:
  Four (4) Months as to each count, to run concurrently




      D The court makes the following recommendations to the Bureau of Prisons:




      D The defendant is remanded to the custodyof the United States Marshal.

      D The defendant shall surrender to the United States Marshal for this district:

           D at                                  D a.m.     D p.m.       on

           D as notified bythe United States Marshal.

      � The defendant shall surrender for service of sentence at the institution designated bythe Bureau of Prisons:
           D before 2 p.m. on
           D as notified bythe United States Marshal.
           � as notified bythe Probation or Pretrial Services Office.


                                                                RETURN
 I have executed this judgment as follows:




          Defendant delivered on                                                        to

 at _______________ , with a certified copyof this judgment.



                                                                                                UNITED STATES MARSHAL


                                                                        By---------------------­
                                                                                             DEPUTY UNITED STATES MARSHAL




                                                                                                                                35
                       Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 36 of 37
AO 245B (Rev. 09/19)   Judgment in a Criminal Case
                       Sheet 5 - Criminal Monetary Penalties
                                                                                                     Judgment - Page       4    of        5
 DEFENDANT: Stephen K. Bannon
 CASE NUMBER: CR 21-670 (CJN)
                                                 CRIMINAL MONETARY PENALTIES
      The defendant must pay the total criminal monetary penalties under the schedule of payments on Sheet 6.


                     Assessment                 Restitution           Fine                    AVAA Assessment*             JVTA Assessment**
 TOTALS           $ 50.00                   $                       $ 6,500.00            $                            $


 D    The determination of restitution is deferred until       -----
                                                                          . An Amended Judgment in a Criminal Case (AO 245C) will be
      entered after such determination.

 D    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified otherwise in
      the priority or!ler or perc�ntage payment column below. However, pursuant to 18 U.S.C. § 3664(1), all nonfederal victims must be paid
      before the Umted States 1s paid.

 Name of Payee                                                  Total Loss***             Restitution Ordered          Priority or Percentage




 TOTALS                               $   ----------
                                                                0.00                   0.00
                                                                             $ ----------


 D     Restitution amount ordered pursuant to plea agreement $

 D     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before the
       fifteenth day after the date of the judgment, pursuant to 18 U.S.C. § 3612(f). All of the payment options on Sheet 6 may be subject
       to penalties for delinquency and default, pursuant to 18 U.S.C. § 3612(g).

 D     The court determined that the defendant does not have the ability to pay interest and it is ordered that:

       D the interest requirement is waived for the             D fine   D restitution.

       D the interest requirement for the           D    fine    D restitution is modified as follows:

 * Amy, Vicky, and Andy Child Pomograph_y Victim Assistance Act of 2018, Pub. L. No. 115-299.
 ** Justice for Victims of Trafficking Act of2015, Pub. L. No. 114-22.
 *** Findings for the total amount oflosses are required under Chapters 109A, 110, l lOA, and 113A of Title 18 for offenses committed on
 or after September 13, 1994, but before April 23, 1996.



                                                                                                                                                  36
                         Case 1:21-cr-00670-CJN Document 167 Filed 11/07/22 Page 37 of 37
AO 245B (Rev. 09/19)    Judgment in a Criminal Case
                        Sheet 6- Schedule of Payments
                                                                                                                 Judgment-Page -�5- of             5
 DEFENDANT: Stephen K. Bannon
 CASE NUMBER: CR 21-670 (CJN)


                                                        SCHEDULE OF PAYMENTS

 Having assessed the defendant's ability to pay,payment of the total criminal monetary penalties is due as follows:

 A     liZl   Lump sum payment of$          6,550.00              due immediately,balance due

              D      not later than                                ,or
              liZl   in accordance with liZl C,       D D,       D E,or          D F below; or

 B     D      Payment to begin immediately (may be combined with               D C,        D D,or       D F below); or

 C     �      Payment in equal      monthly          (e.g., weekly, monthly, quarterly) installments of $ 500.00           over a period of
              13 mo.       (e.g., months or years), to commence        30              (e.g., 30 or 60 days) after the date of this judgment; or

 D     D      Payment in equal       _____ (e.g., weekly, monthly, quarterly) installments of $ ____ over a period of
                             (e.g., months or years), to commence _____ (e.g., 30 or 60 days) after release from imprisonment to a
              term of supervision; or

 E     D      Payment during the term of supervised release will commence within _____ (e.g., 30 or 60 days) after release from
              imprisonment. The court will set the payment plan based on an assessment of the defendant's ability to pay at that time; or

 F     D      fu)ecial instructions regarding the pa�ent of criminal monetary penalties:
              llle financial obligations are immediately payable to the Clerk of the Court for the U.S. District
              Court, 333 Constitution Ave NW, Washington, DC 20001. Within 30 days of any change of
              address, you shall notify the Clerk of the Court of the change until such time as the financial
              obligation is paid in full.



 Unless the court has expressly ordered otherwise,if this judgment imposes imprisonment,payment of criminal monetary penalties is due during
 the period of imprisonment. All criminal monetary penalties,except those payments made through the Federal Bureau of Prisons' Inmate
 Financial Responsibility Program,are made to the clerk of the court.

 The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.



 D    Joint and Several

      Case Number
      Defendant and Co-Defendant Names                                                       Joint and Several                Corresponding Payee,
       (including defendant number)                          Total Amount                         Amount                          if appropriate




 D     The defendant shall pay the cost of prosecution.

 D     The defendant shall pay the following court cost(s):

 D     The defendant shall forfeit the defendant's interest in the following property to the United States:



 Payments shall be applied in the following order: (1) assessment,(2) restitution principal,(3) restitution interest,(4) AVAA assessment,
 (5) fine principal,(o) fine interest,(7) community restitution,(8) JVTA assessment,(9) penalties,and (10) costs,mcluding cost of
 prosecution and court costs.



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